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 Name and address:
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                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

                                                                              CASE NUMBER
 JENNY L. FLORES, et al.,
                                                           Plaintiff(s),                   Case No. 2:85-cv-04554-DMG-AGRx

                  v.
                                                                                APPLICATION OF NON-RESIDENT ATTORNEY
 WILLIAM BARR, et.al.                                                                 TO APPEAR IN A SPECIFIC CASE
                                                        Defendant(s),                              PROHACVICE
 INSTRUCTIONS FOR APPLICANTS
 (I) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section Ill. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings=> Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64)'J, attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time offiling (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time offiling will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $400 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
 Cambria, Bridget
 Applicant's Name (Last Name, First Name & Middle Initial)                                         check here iffederal government attorney □
 Aldea - The People's Justice Center
 Firm/Agency Name
 532 Walnut Street                                                         (610) 451-1792                       484 772 8003
                                                                           Telephone Number                     Fax Number
 Street Address
 Reading, PA 1960 I                                                                              bridget@aldeapjc.org
 City, State, Zip Code                                                                               E-mail Address

I have been retained to represent the following parties:

 Aldea -The Peoole's Justice Center                                        D Plaintiff(s) D Defendant(s)   ~ Other: -=-A=m=i=c..__i_ _ _ _ __
                                                                           D Plaintiff(s) □ Defendant(s)   □   Other:
Name(s) of Party(ies) Represented
                                                                                                                        ---------
List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

              Name of Court                              Date o(Admission             Active Member in Good Standing? fifnot, please explain)
Pennsylvania Supreme Court                                 05/10/2007                Good Standing
Third Circuit Court of Appeals                               01/23/2014              Good Standing
Ninth Circuit Court of Appeals                               04/14/2020              Good Standing

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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                    Title o_(Action                            Date of Application        Granted I Den ied?
 85-4544                                           Flores. et. al. v Barr                        7/22/2020                 Granted




If any pro hac vice applications submitted within the past three (3) years have been den ied by the Court, please explain:
  NIA




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated 08/07/2020




                                                                         Applicant's Signature



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SECTION III - DESIGNATION OF LOCAL COUNSEL

 Barenfeld. Gabriel S.
 Designee's Name (Last Name, First Name & Middle Initial)

 NELSON & FRAENKEL LLP
 Firm/Agency Name

 601 S. Fhmeroa Street.. Suite 2050                                844-622-6469                            213-622-60 I 9
                                                                   Telephone Number                        Fax Number
 Street Address                                                    2'harenfeldl@nflawfirm.com
                                                                   Email Address
 Los Anf:!eles. California. 90017
 City, State, Zip Code                                            SBN: 224146
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice oflaw, in which I am physically present on a regular basis to conduct business.

               Dated 08/07/2020                                    Gabriel S. Barenfeld
                                                                  Designee's Name (please type or print)

                                                                  Gabriel Barenfeld
                                                                  Designee's Signature
SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  U.S. District Court for the Eastern District of Pennsylvania, Admitted on April 8, 2015, Good Standing.




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